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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,
                                                                       DECISION AND ORDER
                                       Plaintiff,
                                                                       15-CR-6004L

                       v.


STEVEN RAY,

                              Defendant.
________________________________________________


       Defendant Steven Ray (“Ray”) filed three motions, pro se, seeking compassionate release

pursuant to 18 U.S.C. § 3582(c)(1)(A) (Dkt. ##200, 203, 204). Ray’s motions are based in part on

the public health issue involving the COVID-19 pandemic and also because of the desire to assist a

parent. The Government filed a Response (Dkt. #202) opposing the requested relief on several

grounds and the Probation Office for the Western District of New York has submitted a report (Dkt.

#205) with attachments concerning Ray and the COVID-19 summary at Ray’s place of confinement.

The motions for compassionate release are DENIED.

       The Government lists several reasons that this Court should deny the motions and all are

sound. First of all, Ray has appealed several decisions of this Court to the United States Court of

Appeals for the Second Circuit and they are still pending. Because of that, this Court lacks

jurisdiction at the present time over Ray’s claims concerning his sentence. In addition, I agree with

the Government that Ray has not exhausted his administrative remedies by seeking administrative

relief under the provisions of the statute. Furthermore, on the merits Ray is currently held at a small

200-inmate unit at FCI Schuylkill Camp. According to the report from Probation, there are no
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known cases of COVID-19 at that facility and all reasonable steps are being taken there to prevent

spread of the virus among inmates and staff.

       Next, Ray is classified at the facility at the lowest risk concerning medical concerns and no

specific health problems relating to asthma were listed in the original Presentence Report and there

appears to have been no record of asthma treatment while confined with the Bureau of Prisons.



                                         CONCLUSION

       Defendant Steven Ray’s requests for compassionate release (Dkt. ##200, 203, 204) are in all

respects DENIED.

       IT IS SO ORDERED.



                                      _______________________________________
                                               DAVID G. LARIMER
                                             United States District Judge
Dated: Rochester, New York
       May 13, 2020.




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